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                        MANISH LACHWANI
                   12

                   13                                   UNITED STATES DISTRICT COURT

                   14                              NORTHERN DISTRICT OF CALIFORNIA

                   15                                      SAN FRANCISCO DIVISION

                   16

                   17   UNITED STATES OF AMERICA,                             Case No. 21-cr-00353-CRB

                   18                      Plaintiff,                         DECLARATION OF MAX A. BERNSTEIN IN
                                                                              SUPPORT OF DEFENDANT MANISH
                   19          v.                                             LACHWANI’S 3553(A) SENTENCING
                                                                              MEMORANDUM AND MOTION FOR
                   20   MANISH LACHWANI,                                      DOWNWARD DEPARTURE

                   21                      Defendant.

                   22

                   23          I, Max A. Bernstein, declare as follows:

                   24          1.      I am an attorney duly licensed to practice law in the State of California and am

                   25   admitted to practice before this Court. I am an associate with the law firm of Cooley LLP, attorneys

                   26   of record for Defendant Manish Lachwani. I have personal knowledge of the matters set forth

                   27   herein and, if called as a witness, I could and would competently testify thereto.

                   28          2.      I submit this declaration in support of Mr. Lachwani’s 3553(a) Sentencing
COOLEY LLP
ATTORNEYS AT LAW                                                                                        BERNSTEIN DECL. ISO
 SAN FRANCISCO                                                            1                         LACHWANI MEMORANDUM
                                                                                                          21-CR-00353-CRB
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              1   Memorandum and Motion for Downward Departure.

              2               3.   Attached as Exhibit A is true and correct copy of a letter written by Mr. Lachwani

              3   to the Court.

              4               4.   Attached as Exhibit B are true and correct copies of letters and certificates of

              5   appreciation provided to me by Mr. Lachwani from various charitable organizations to which Mr.

              6   Lachwani has donated.

              7               5.   Attached as Exhibit C are true and correct copies of letters of support provided to

              8   me by Mr. Lachwani from several of Mr. Lachwani’s neighbors, former colleagues and friends.

              9

             10   Dated: January 10, 2024                     Respectfully Submitted,

             11                                               COOLEY LLP

             12

             13                                               By:
                                                                    Max A. Bernstein
             14
                                                              Attorneys for Defendant
             15                                               MANISH LACHWANI
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COOLEY LLP
                                                                                                  BERNSTEIN DECL. ISO
                                                                     2                        LACHWANI MEMORANDUM
                                                                                                    21-CR-00353-CRB
